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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                NORTHERN DIVISION

    In the Matter of the Petition

                        Of

    GRACE OCEAN PRIVATE LIMITED,                     Docket No. JKB 24-cv-941
    as Owner of the M/V DALI,
                                                     IN ADMIRALTY
                       And

    SYNERGY MARINE PTE LTD, as
    Manager of the M/V DALI,

    for Exoneration from or Limitation of
    Liability




             THE STATE CLAIMANTS’ REPLY MEMORANDUM IN
         SUPPORT OF THEIR MOTION FOR PARTIAL LIFTING OF STAY1

         Petitioners’ Opposition (ECF No. 456) does not dispute that claims for breach of

contract and claims for environmental penalties are beyond the scope of the Limitation of

Liability Act, 46 U.S.C. §§ 30501, et seq. (“Limitation Act”). That concession serves as

an acknowledgement that such claims will be decided in another forum, the only question

being when.

         In support of their “later, not now” position, Petitioners offer a supposed policy

defense and three other off-point arguments. All these arguments lack legal support and –


1
      The “State Claimants” are the State of Maryland, by and through Anthony G. Brown, Attorney
      General of Maryland, the Maryland Transportation Authority, the Maryland Port
      Administration, and the Maryland Department of the Environment.

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if followed – would unjustifiably prejudice the State. The Petitioners’ defenses are

summarized below.


      Petitioners’ Arguments Against                 Why the Arguments Fail
         Partially Lifting the Stay

     Policy considerations favor all        Incorrect. Policy considerations only
     claims remaining in the Limitation     justify this Court’s retention of claims that
     Proceeding until after resolution of   are potentially subject to limitation. No
     Petitioners’ right to limit their      policy consideration or case law supports
     liability.2                            the retention of claims that are ineligible
                                            for limitation and will assuredly be decided
                                            in another venue.

     This Court has supplemental            Irrelevant. Whether this Court has subject
     jurisdiction over the State            matter jurisdiction is an issue distinct from
     Claimants’ claims. 3                   whether the Court has the right to decide
                                            the merits of claims that were filed in the
                                            limitation proceeding under protest.

     The State Claimants’ breach-of-        Irrelevant (and Incorrect). The State’s
     contract claims are meritless. 4       Motion to Partially Lift the Stay
                                            (“Motion”) is procedural, not substantive.
                                            The merits of these claims will be decided
                                            in another forum.

     The State Claimants’ evaluation of Irrelevant (and Incorrect). The Motion is
     their federal and state            procedural, not substantive. The merits of
     environmental claims is improper. these claims will be decided in another
                                      5

                                        forum.




2
    See Petitioners’ Opposition to Claimants’ Motions to Partially Lift Stay (ECF No. 456) at 4
    (hereafter “Opposition”).
3   Id. at 6.
4
    Id. at 7.
5
    Id. at 10.

                                               2
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    I.    Policy Considerations Favor the Movants, Not the Petitioners

          Petitioners’ lead argument is that policy considerations justify a decision not to lift

the stay now, thereby keeping the State Claimant’s breach-of-contract claims and

environmental penalty claims bottled up in the limitation proceeding until resolution of the

issues of exoneration and/or limitation.6 This argument makes little legal or practical sense.

To the contrary, both the case law and policy considerations favor immediate disposition

of claims that are outside the scope of the Limitation Act.


          A. The Case Law Favors the Movants, Not the Petitioners

          Petitioners’ Opposition cites some caselaw, but none of the cited cases stand for the

proposition that claims that are immune from limitation ought to be retained in the

limitation proceeding pending a determination on the vessel owner’s liability. Indeed, one

of the cases cited by Petitioners, 7 The Quarrington Court, 102 F.2d 916, 919 (2d Cir), cert.

denied, 307 U.S. 645 (1939), made this observation: “We are referred to no decision where

the courts have excepted certain claims from adjudication in a limitation proceeding

(unless, like the death claims involved in Petition of Liverpool, Brazil & River Plate Steam

Nav. Co, 2 Cir., 57 F.2d 176, they were claims outside of the scope of the limitation statute)

. . . .” (emphasis added). That quote sums up the position of the State Claimants, who

indeed have claims that Petitioners have acknowledged are outside the scope of the

Limitation Act.



6
      Opposition at 4-6.
7
      Id. at 4.

                                                 3
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       In contrast, courts routinely lift limitation-related injunctions to allow parties to

proceed in state court with causes of action that are outside the scope of the Limitation Act.

See, e.g., In re Wilkie, No. 11-00205, 2012 WL 1918775, at *3 (D. Alaska May 24, 2012)

(permitting the State of Alaska to sue the petitioner in state court for environmental claims

that were not subject to the Limitation Act); United States v. CF Indus., Inc., 542 F. Supp.

952, 955-56 (D. Minn. 1982) (holding that the federal government could maintain a

separate lawsuit for environmental penalties notwithstanding the injunction orders that had

been issued by the courts that were adjudicating the defendants’ limitation-of-liability

proceedings).

       In fact, some courts have expressed the view that injunctions based on the authority

of Supplemental Admiralty Rule F(3) do not even apply to environmental penalty claims.

The CF Industries case included claims under the Clean Water Act. In holding that public

policy weighed in favor of allowing those environmental claims to proceed outside of the

limitation proceeding, the court wrote: “Moreover, the public policies embodied in the

CWA are stronger and more important than those embodied in the Limitation Act.” CF

Indus., 542 F. Supp. at 956. Applying that reasoning here, this Court’s existing restraining

order (ECF No. 8) would not even apply to the claims at issue in this Motion.


       B. Practical Considerations Favor the Movants, Not the Petitioners

       Lifting the stay now best serves the interests of the State Claimants and does not

offend the rights of Petitioners. As the Opposition points out, it makes good sense to keep

the concursus for claims that may be subject to limitation because the “heart of [the


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limitation] system is a concursus of all claims to ensure the prompt and economical

disposition of controversies in which there are often a multitude of claims,” citing

Maryland Casualty Co. v. Cushing, 347 U.S. 409, 415 (1954). 8 But that purpose is not

served if the claims at issue are immune from limitation because this Court’s ultimate

decision on Petitioners’ requested relief will have no effect on the State Claimants’ causes

of action for breach of contract and environmental penalties. If, as the Cushing Court said,

the heart of a concursus is to “to ensure the prompt and economical disposition of

controversies,” then the only way that goal can be fostered with respect to the claims at

issue in this Motion is to send them to state court where that court will be empowered to

consider the claims on their merits.

       In addition, lifting the stay now best honors the State Claimants’ rights under the

savings-to-suitors’ clause and their sovereign immunity. See Wheeler v. Marine Navigation

Sulphur Carriers, 764 F.2d 1008, 1011 (4th Cir. 1985) (“With the reason for concursus and

restraint of other proceedings removed, no reason remained to deprive plaintiffs of their

choice of forum or of their statutory right to jury trials.”).

       It is important to note that Petitioners’ Opposition does not advance any argument

that defending against parallel litigation in state court would impair Petitioners’ ability to

defend themselves in the limitation action or that the parallel litigation would somehow

disrupt or hamper the limitation proceeding. 9



8
    Opposition at 4.
9   The closest argument pressed by Petitioners is that the status quo “will also advance judicial
    economy and prevent significant delay and the waste of all parties’ resources that will result
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         C. This Issue Presented by this Motion – the Propriety of a Partial Lifting of
            the Stay – Has Not Yet Been Decided

         Finally, Petitioners also argue that one of this Court’s prior orders and one of the

parties’ prior pleadings have either decided or conceded the question of when to lift the

stay. This argument is also incorrect.

         First, Petitioners quote language from Case Management Order No. 3 (ECF No.

438), which states that the Court “will not address individual claims during Phase 1,”

suggesting that the holding extends to the contract claims and environmental claims at issue

in this Motion. 10 That construction cannot be correct because CMO 3 also indicated that

motions seeking a partial lifting of the stay should be filed by December 2. (ECF No. 438,

at 6.) Had the “stay issue” been decided, no briefing would have been ordered.11

         Second, Petitioners cite to the parties’ Joint Status Report (ECF No. 406), in which

the claimants advocated that “issues relating to ‘relief as to any particular Claimant’ would

be addressed in Phase 2.” Petitioners suggest this language is at odds with the relief

requested in the pending Motion.12 Again, this is a myopic construction that ignores other,

on-point language in the Joint Status Report. On page 17 of that pleading, among a listing

of “Additional Issues,” the State Claimants included “[t]he possibility of a partial lifting of

the stay against the prosecution of claims against Petitioners to the extent that certain


     from separate actions in different forums at this early stage.” Opposition at 5. The Opposition
     does not develop this imprecise argument in any way.
10   Opposition at 1, 3, and 5.
11
     Furthermore, the issue of the partial lifting of the stay was discussed by counsel and the Court
     at the October 29 hearing. Tr. at 91-92.
12
     Id. at 5.

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claims are not subject to limitation.” (ECF No. 406, at 17.) As such, Claimants obviously

did not concede this issue.


 II.    Subject Matter Jurisdiction is a Red Herring

        Petitioners’ second argument is that the State Claimants have conceded that this

Court has subject matter jurisdiction over their claims. 13 This assertion is only half-right,

but more importantly, the argument is irrelevant.

        In their Answer and Claim (ECF No. 157), the State Claimants acknowledged that

supplemental subject matter jurisdiction extends to all their claims given that the claims

arise out of the same case or controversy. Id. at 14. However, the State Claimants expressly

stated that this averment was subject to their reservation of rights to assert their sovereign

immunity and their rights under the savings-to-suitors clause. Id. Indeed, the State’s

Answer and Claim broadly preserves those affirmative defenses in multiple passages. See

id. at 8, 14, and 52. Those reservations are not mentioned in Petitioners’ Opposition.

        More importantly for this Motion, however, the fact that a federal court has subject

matter jurisdiction over a claim does not mean the court is required to adjudicate the merits

of that claim. Federal courts can and do decline to address the merits of claims otherwise

within their jurisdiction under several long-standing principles. 14 This is plainly true in the



13
     Opposition at 6.
14   For example, the principle that federal courts with subject matter jurisdiction will often defer
     the merits of a dispute to state court is so established that it is articulated as doctrine—for
     example, the doctrine of Burford abstention (“federal courts of equity should exercise their
     discretionary power with proper regard for the rightful independence of state governments in
     carrying out their domestic policy” (Burford v. Sun Oil Co., 319 U.S. 315, 318 (1943)), or
     Colorado River abstention (“Colorado River abstention is based on the policy of conserving
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context of limitation proceedings. In Langnes v. Green, 282 U.S. 531, 541 (1931), the

Supreme Court held that, in limitation proceedings, whether a district court decides the

merits of a claim is a matter of discretion, not jurisdiction.15 Indeed, where a shipowner

has no right to limit its liability – which is the case with respect to the breach-of-contract

claims and environmental penalty claims at issue – the federal court should lift the stay and

allow the claimants their choice of forum. Complaint of McCarthy Bros. Co./Clark Bridge,

83 F.3d 821, 827 (7th Cir. 1996).16


III.    The Merits of the State’s Claims are Irrelevant

        Petitioners’ final two arguments inexplicably attack the merits of the State’s breach-

of-contract claims and environmental claims. 17 Petitioners spend six pages arguing that




     judicial resources in situations involving the contemporaneous exercise of concurrent
     jurisdictions.” (Grimes v. Crown Life Ins. Co., 857 F.2d 699, 707 (10th Cir.1988)). In
     analogous contexts, it is recognized as “vexatious” for a federal court to proceed where a state
     court suit would “present[] the same issues, not governed by federal law, between the same
     parties.” Brillhart v. Excess Ins. Co. of Am., 316 U.S. 491, 495 (1942) (addressing exercise of
     subject matter jurisdiction in the Declaratory Judgment context). In addition, federal courts
     can decline to hear claims otherwise within their jurisdiction under the first-to-file rule, can
     transfer claims under 28 U.S.C. § 1404, or decline to exercise supplemental jurisdiction over
     state claims.
15
     As an example of the principle, the Langnes Court wrote: “Admiralty courts, for example,
     have complete jurisdiction over suits of a maritime nature between foreigners. Nevertheless,
     ‘the question is one of discretion in every case, and the court will not take cognizance of the
     case if justice would be as well done by remitting the parties to their home forum.’ . . . So,
     while the courts of this country have and may entertain jurisdiction of actions between
     nonresident foreigners for torts committed in a foreign country, they will exercise such
     jurisdiction in their discretion and only in special cases.” 282 U.S. at 544.
16
     See also Pickle v. Char Lee Seafood, Inc., 174 F.3d 444, 449-51 (4th Cir. 1999).
17
     Opposition at 7-13.

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those claims are either without merit or unripe.18 But why they make these arguments is

unclear.19 Merits-based arguments in response to a procedural-only motion are misplaced,

especially when the Motion’s objective is to obtain permission for another court to resolve

the merits of the claims. As discussed supra, Petitioners’ brief lacks any case law

supporting the proposition that claims outside the scope of the Limitation Act should be

held in abeyance in a limitation proceeding


                                          CONCLUSION

        Petitioners concede that claims for breach of contract and for environmental

penalties are outside the scope of the Limitation Act. That means those claims will be

decided in another venue, the only question being when. Petitioners cite no authority for

the proposition that these claims should be detained in a limitation proceeding pending

resolution of Petitioners’ liability.      Indeed, the case law and common sense suggest

otherwise. Accordingly, the State Claimants respectfully request this Court immediately

modify the current restraining order (ECF No. 08) to allow them to prosecute the following

causes of action in their venue of choice: Counts XI, XII, and XIII (contractual claims

based on the MPA Tariff), and Counts VI, VII, VIII, IX, and X (environmental claims).


18
     As one example, Petitioners write: “Granting the State Claimants’ motion with respect to their
     claims for breach of contract would require the Court to conclude that the Vessel was bound,
     at the time of the Casualty . . . by a “Terminal Services Schedule” issued by the Maryland Port
     Authority . . . that applies to vessels berthed at Maryland terminal facilities.” (ECF No. 456 at
     7). That question is exactly the sort of decision the state court will need to decide, but it is
     unnecessary to resolve for this motion.
19
     The State Claimants were careful to point out that resolution of this Motion did not require the
     Court to consider the merits of any claim. (ECF No. 451 at 4.). Perhaps Petitioners hope to
     distract the Court from the lack of legal support for their procedural defenses.

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                              Respectfully submitted,


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                           CERTIFICATE OF SERVICE

      I CERTIFY that on this 20th day of December 2024, the foregoing was filed in the
United States District Court for the District of Maryland via the Court’s CM/ECF filing
system, which will provide notice of this failing to all counsel of record.

                                        /s/ Melissa E. Byroade
                                          Melissa E. Byroade




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